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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                            AUSTIN DIVISION

SCOTT PANETTI,                              §
Petitioner,                                 §
                                            §
v.                                          §         Civil Action No.
                                            §         A-04-CA-042-RP
BOBBY LUMPKIN,                              §
Director, Texas Department of               §
Criminal Justice, Correctional              §
Institutions Division,                      §
Respondent.                                 §

                      PROPOSED SCHEDULING ORDER

   Pursuant to the Fifth Circuit Court of Appeals opinion issued in this
case on July 11, 2017, this Court will hold a hearing on Petitioner’s claim
pursuant to Ford v. Wainwright.1 In anticipation of such, this Court
enters the following scheduling order:

     1. Counsel for Scott Panetti shall file a petition for writ of habeas
        corpus raising a Ford claim on or before June 15, 2022.

     2. The State shall file its answer to the habeas petition on or
        before September 13, 2022.

     3. Counsel for Scott Panetti shall file their reply to the State’s
        answer on or before October 13, 2022.

     4. The parties shall move for any discovery on or before 180 days
        before the hearing. 2

     5. All discovery shall be completed by 120 days prior to the hearing.



1       477 U.S. 399 (1986).
2       The parties reserve the right to object to any requested discovery.
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6. Each party will identify to the opposing party all testifying
   experts (other than experts called solely to rebut the opinions
   of an opposing party’s experts), including the CV of the expert
   and the subject matter on which each expert is expected to
   testify, and serve reports from each expert by 60 days prior to
   the hearing. Any expert report will include: 1) the expert’s
   name, address, and telephone number; 2) the subject matter
   on which the expert will testify; 3) the general substance of
   the expert’s mental impressions and opinions and a brief
   summary of the basis for them, or if the expert is not retained
   by, employed by, or otherwise subject to the control of the
   responding party, documents reflecting such information; 4) if
   the expert is retained by, employed by, or otherwise subject to
   the control of the responding party: (a) all documents, notes,
   tangible things, reports, models, data compilations, or any
   other written or recorded information that has been provided
   to, reviewed by, or prepared by or for the expert in
   anticipation of the expert’s testimony; (b) the expert’s current
   resume and bibliography; (c) the expert’s qualifications,
   including a list of all publications authored in the previous 10
   years; and (d) except when the expert is the responding
   party’s attorney and is testifying to attorney fees, a list of all
   other cases in which, during the previous four years, the
   expert testified as an expert at trial or by deposition.

7. Each party shall identify their respective hearing witnesses
   and any rebuttal expert witnesses, subject to the same
   provisions as Section 3 above, by 45 days prior to the hearing.
   Such witness lists will include the name of each witness the
   party believes is relevant to the designated issues and each
   witness’s contact information, a brief summary of each
   witness’s expected testimony. Absent agreement by the
   parties or leave of court, the parties may not designate
   additional witnesses, lay or expert, after this deadline. All
   witnesses will be presented live.

8. The parties shall exchange exhibit lists along with any
   business record affidavits in digital form on or before 30 days

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  prior the hearing. Each exhibit proposed by the Petitioner will
  be designated as “Petitioner’s Ex.” and consecutively
  numbered, and each exhibit proposed by the Respondent will
  be designated “Respondent’s Ex.” and consecutively
  numbered.

9. Any written objections to witnesses or exhibits and any other
   pre-hearing motions, including motions in limine, shall be
   served on or before 21 days prior to the hearing. Responses
   are due on or before 14 days prior to the hearing.

10.      If the parties file objections or pretrial motions, the
   Court will hold a hearing resolving any such objections or
   pretrial motions 10 days prior to the hearing.

11.       The Court will begin the hearing at 9:00 a.m. xxx

10. The parties will file Proposed Findings of Fact and
Conclusions of Law within 45 days following the receipt of the
hearing transcript.

11. Closing arguments will be scheduled at a date convenient to
   the parties and the Court, but within 30 days of submission of
   the Proposed Findings of Fact and Conclusions of Law.

12. The evidentiary hearing will be limited to one week, begin on
   a date to be determined by the Court after consultation with
   the parties, and continue day-to-day until completion of the
   presentation of evidence.

13. The parties may modify any of the deadlines in
   subparagraphs by agreement of the parties without leave of
   Court. The dates and deadlines set forth in may not be
   amended without further order of the Court, which may be
   sought upon request by any party.


  SO ORDERED.

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Signed this            day of September, 2021, at Austin, Texas.




                                         Robert Pitman
                                         United States District Judge




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